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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION
In re Cassava Sciences, Inc.
Securities Litigation

-vs-                                                            Case No.:     1:21-CV-751-DAE




                          MOTION FOR ADMISSION PRO HAC VICE


TO THE HONORABLE JUDGE OF SAID COURT:

                              Monica K. Loseman
        Comes now ________________________________________, applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

                                       Cassava Sciences, Inc.
Texas pro hac vice to represent ________________________________ in this case, and would

respectfully show the Court as follows:

1.      Applicant is an attorney and a member of the law firm (or practices under the name of)

                               Gibson, Dunn & Crutcher LLP
        _________________________________________________________________________,

        with offices at

                Mailing address:         1801 California Street, #4200
                                         ________________________________________________

                City, State, Zip Code:           Denver, CO 80202
                                                ___________________________________________

                Telephone:               303-298-5784
                                         ________________________________________________

                Facsimile:                  _______________________________________________
                                         303-303-2828
                                                  MLoseman@gibsondunn.com
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2.                  2002
     Since _______________________, Applicant has been and presently is a member of and in

                                                           Colorado
     good standing with the Bar of the State of _______________________________.

                                                34119
     Applicant’s bar license number is _______________________.

3.   Applicant has been admitted to practice before the following courts:

     Court:                                              Admission date:

     Colorado
     ______________________________                       10/29/2002
                                                         ______________________________

     California
     ______________________________                       06/01/2016
                                                         ______________________________

     D. Colorado
     ______________________________                       01/03/2003
                                                         ______________________________

     Various federal districts & COAs
     ______________________________                      ______________________________

4.   Applicant is presently a member in good standing of the bars of the courts listed above,

     except as provided below (list any court named in the preceding paragraph before which

     Applicant is no longer admitted to practice):

     N/A
     ________________________________________________________________________

     ________________________________________________________________________

5.   Applicant has never been subject to grievance proceedings or involuntary removal

     proceedings while a member of the bar of any state or federal court, except as provided

     below:

     N/A
     ________________________________________________________________________

     ________________________________________________________________________

6.   Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

     except as provided below (omit minor traffic offenses):

     N/A
     ________________________________________________________________________


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7.    Applicant has read and is familiar with the Local Rules of the Western District of Texas and

      will comply with the standards of practice set out therein.

8.    Select one:

      G      Applicant has on file an application for admission to practice before the United

             States District Court for the Western District of Texas.

      G
      ✔      Applicant has co-counsel in this case who is admitted to practice before the United

             States District Court for the Western District of Texas.

             Co-counsel:              Trey Cox
                                      ________________________________________________

             Mailing address:         2001 Ross Avenue, Suite 2100
                                      ________________________________________________

             City, State, Zip Code:          Dallas, TX 75201
                                             ___________________________________________

             Telephone:               (214) 698-3256
                                      ________________________________________________

9.    Should the Court grant applicant’s motion, Applicant shall tender the amount of $100.00

      pro hac vice fee in compliance with Local Court Rule AT-1(f)(2) [checks made payable

      to: Clerk, U.S. District Court].

10.   Should the Court grant applicant's motion, Applicant shall register as a filing user within 10

      days of this order, pursuant to Administrative Policies and Procedures for Electronic Filing

      in Civil and Criminal Cases in the Western District of Texas.




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Wherefore, Applicant prays that this Court enter an order permitting the admission of

            Monica K. Loseman
_________________________________________ to the Western District of Texas pro hac vice

for this case only.

                                             Respectfully submitted,


                                                           Monica K. Loseman
                                             __________________________________________
                                             [printed name of Applicant]


                                             __________________________________________
                                             [signature of Applicant]



                                 CERTIFICATE OF SERVICE

       I hereby certify that I have served a true and correct copy of this motion upon each
                                                                          22nd day of
attorney of record and the original upon the Clerk of Court on this the ______
        February
_________________________,         2024
                                  ___________.


                                                            Monica K. Loseman
                                             __________________________________________
                                             [printed name of Applicant]

                                                     /s/ Monica K. Loseman
                                             __________________________________________
                                             [signature of Applicant]




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
In re Cassava Sciences, Inc.
Securities Litigation
-vs-                                                                   Case No. 1:21-CV-751-DAE




                                                 ORDER


       BE IT REMEMBERED on this the ________ day of ________________, 20____, there

was presented to the Court the Motion for Admission Pro Hac Vice filed by

     Monica K. Loseman
___________________________                                Cassava Sciences, Inc.
                            (“Applicant”), counsel for __________________________ and

the Court, having reviewed the motion, enters the following order:

       IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and Applicant

                             Cassava Sciences, Inc.
may appear on behalf of _____________________________ in the above case.

       IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,

in compliance with Local Court Rule AT-1(f)(2), immediately tender the amount of $100.00,

made payable to: Clerk, U.S. District Court.

       IT IS FURTHER ORDERED that Applicant, pursuant to the Administrative Policies and

Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas, shall

register as a filing user within 10 days of the date of this Order.

       IT IS FINALLY ORDERED that Applicant’s Pro Hac Vice status shall not become effective

until Applicant has complied with all provisions of this Order.

       SIGNED this the ________ day of _____________________ 20____.


                                                     _______________________________________
                                                     UNITED
                                                     UNITED STATES
                                                             STATES DISTRICT
                                                                     DISTRICT JUDGE
                                                                              JUDGE

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